                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

TERRENCE FITCH,

                      Plaintiff,

v.                                                                 Case No. 23-CV-0082

TONYA ROSALES and
JOSEPH LACROIX,

                  Defendants.
______________________________________________________________________________

   JEFFREY NORMAN’S SECOND AMENDED MOTION TO QUASH SUBPOENA
______________________________________________________________________________

       NOW COMES Jeffrey Norman, Chief of the Milwaukee Police Department, by and

through his attorneys, City Attorney Evan Goyke and Assistant City Attorney Maria Mesoloras,

and as and for his Amended Motion to Quash states as follows:

       1. The Federal Rules of Civil Procedure govern the issuance of subpoenas. Fed. R. Civ.

          P. 45.

       2. Rule 45(a)(4) provides that, before serving the person to whom it is directed, a notice

          and copy must be served on each party.

       3. Rule 45 provides that “[s]erving a subpoena requires delivering a copy to the named

          person.” Fed. R. Civ. P. 45(b)(1).

       4. The District Court must quash or modify a subpoena that fails to allow a reasonable

          time to comply (see Fed. R. Civ. P. 4 (d)(3)(A)(i)), or subjects a person to undue

          burden (see Fed. R. Civ. P. 45(d)(3)(A)(iv)).

       5. On October 15, 2024, Jeffrey Norman, who is Chief of the Milwaukee Police

          Department, was served with a Subpoena Duces Tecum by Plaintiff Terrence Fitch,
   and the subpoena directed him to produce specified materials on or before October 7,

   2024 to a post office box. See Exhibit A (subpoena to Chief Norman).

6. Plaintiff did not provide notice or a copy to counsel of record before serving Chief

   Norman.

7. The subpoena, as completed by Plaintiff, erroneously refers to City Attorney Tearman

   Spencer and Assistant City Attorney Anthony Jackson. Tearman Spencer is no longer

   City Attorney. Anthony Jackson previously terminated his appearance in this case.

   Neither attorney is currently employed by the City Attorney’s Office.

8. Additionally, the subpoena places an undue burden on Chief Norman: The first item

   requeste – “all records reflecting or referring to the arrest and incarceration of

   TERRENCE J FITCH on the 23rd – 24th of February 2021” – is vague and ambiguous

   and does not state what more, in addition to the information Mr. Fitch already has and

   which is contained in Exhibit 2, Mr. Fitch is requesting. The second item requested –

   “All records reflecting or referring to the open records produced for year 2021-2024”

   – is vague, ambiguous, and unintelligible, and the exhibits Mr. Fitch cited and

   attached to his subpoena (e.g., documents purporting to be response letters received

   from the Milwaukee Police Department) do little to clarify what information is being

   requested.

9. Further, based on the exhibits Mr. Fitch attached, it appears the Milwaukee Police

   Department already provided Mr. Fitch with all responsive records it has regarding the

   information now being requested as the second item in the subpoena’s request for

   documents.




                                        2
         10. Further yet, on September 4, 2024, counsel for defendants Rosales and Lacroix

              proactively, and absent any request from Plaintiff, provided Plaintiff with CDs

              containing all of the body camera and squad camera video, and a CD containing all of

              the documents in its possession concerning Mr. Fitch’s arrest and detention on

              February 23, 2021. See Exhibit B (copy of letter sent to Mr. Fitch on September 4,

              2024, along with copy of Certified Mail receipt).

         11. Because counsel for Defendants Rosales and Lacroix who, like Chief Norman, are

              City of Milwaukee employees, previously provided Plaintiff with the above-

              mentioned information, it is unclear what additional information Mr. Fitch seeks or

              expects to obtain by serving this subpoena on Chief Norman.

         WHEREFORE, Chief Norman requests that this Court quash Plaintiff’s subpoena under

Rule 45 as improper.

         Dated and signed at Milwaukee, Wisconsin, this 21st day of October, 2024

                                                         EVAN C. GOYKE
                                                         City Attorney

                                                         s/ Maria Mesoloras_
                                                         MARIA MESOLORAS
                                                         Assistant City Attorney
                                                         State Bar No. 1098921
                                                         Attorneys for Jeffrey Norman

P.O. ADDRESS:
800 City Hall
200 East Wells Street
Milwaukee, WI 53202
414-286-2601 – Telephone
414-286-8550 – Facsimile
Email: mmesol@milwaukee.gov


1032-2023-133/294239




                                                   3
